            Case 1:19-cv-11519-DJC Document 1 Filed 07/11/19 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


PATRICIA SHANLEY,

                       Plaintiff,

v.                                                   Civil Action No.   19-11519



REMINGTON LODGING &
HOSPITALITY, LLC AND ASHFORD TRS
BOSTON BILLERICA, LLC,

                       Defendants.


             DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendants Remington Lodging &

Hospitality, LLC and Ashford TRS Boston Billerica, LLC (collectively “Defendants”) submit

this Notice of Removal of the above-captioned action to the United States District Court for the

District of Massachusetts from the Commonwealth of Massachusetts, District Court Department

of the Trial Court, Lowell Division, County of Middlesex, where the action is now pending.

I.     TIMELINESS OF REMOVAL

       1.      On or about May 31, 2019, Plaintiff Patricia Shanley (“Plaintiff”) filed a civil

action in the Commonwealth of Massachusetts, District Court Department of the Trial Court,

Lowell Division, County of Middlesex, entitled Patricia Shanley v. Remington Lodging &

Hospitality, LLC and Ashford TRS Boston Billerica, LLC, Civil Docket No. 1911CV361. On

June 21, 2019, Plaintiff served both Defendants with the Summons, Complaint, and Statement of

Damages in such action. True and accurate copies of those documents are attached as Exhibits A

- D. The documents referred to in this paragraph are the only process, pleadings, or orders
             Case 1:19-cv-11519-DJC Document 1 Filed 07/11/19 Page 2 of 5



served on Defendants, or known by Defendants to have been filed or issued, in the state-court

action. See 28 U.S.C. § 1446(a).

        2.      Pursuant to 28 U.S.C. § 1446(b)(1), this Notice of Removal is timely filed within

thirty (30) days after service of process on Defendants.

II.     VENUE

        3.      The Commonwealth of Massachusetts, District Court Department of the Trial

Court, Lowell Division, County of Middlesex, is located within the District of Massachusetts.

See 28 U.S.C. § 101. Therefore, venue is proper in this Court because it is the district

“embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

III.    BASIS FOR REMOVAL: FEDERAL-QUESTION JURISDICTION

        4.      In the Complaint, Plaintiff asserts claims against Defendants under the Fair Labor

Standards Act, 29 U.S.C. § 216(b) (“FLSA”)” alleging that Defendants failed to pay wages and

tips in violation of the FLSA. See Complaint ¶¶ 23 – 37; Counts I-II.

        5.      By asserting claims under federal law, namely, the FLSA, Plaintiff’s Complaint

contains a federal question over which the Court has original jurisdiction pursuant to 28 U.S.C. §

1331. The action is therefore removable under 28 U.S.C. § 1441(a), which provides that

“[e]xcept as otherwise expressly provided by Act of Congress, any civil action brought in a State

court of which the district courts of the United States have original jurisdiction, may be removed

by the defendant . . . .”

        6.      This Court, accordingly, has jurisdiction over the subject matter of this action

without regard to the amount in controversy or to the citizenship of the parties.

IV.     SUPPLEMENTAL JURISDICTION

        7.      Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over state-

law claims that are part of the same case or controversy as removable federal claims. State and


                                                  2
            Case 1:19-cv-11519-DJC Document 1 Filed 07/11/19 Page 3 of 5



federal claims are part of the same case or controversy when they arise out of a common nucleus

of operative facts or would ordinarily be expected to be tried together in one judicial proceeding.

       8.      The state-law claims alleged in the Complaint are part of the same case or

controversy as Plaintiff’s FLSA claim. Specifically, in the Complaint, Plaintiff also asserts

claims against Defendants alleging Defendants failed to pay wages and tips in violation of

M.G.L. c. 149, § 152A(b) and that they allegedly retaliated against her in violation of M.G.L.c.

151, § 19. See Complaint ¶¶ 38 – 61; Counts III – VI. Notably, all of Plaintiff’s claims against

Defendants arise out of Plaintiff’s allegations that Defendants failed to pay alleged wages and

tips as well as Plaintiff’s alleged employment with and alleged termination from employment

with Defendants. See Complaint ¶¶ 7-21; Counts I - VI.

       9.      Indeed, Plaintiff’s state and federal claims each incorporate the allegations

contained under the “Facts” heading of the Complaint. Plaintiff expressly incorporates all

preceding paragraphs of her Complaint into each of her causes of action beginning on the third

page of the Complaint. See id. at pp. 3, 5, 6, 8, 10, and 11.

       10.     Because the federal claims asserted in the Complaint are removable, this Court

has jurisdiction over Plaintiff’s state-law claims pursuant to 28 U.S.C. § 1441(c).

V.     CONCLUSION

       11.     To date, Defendants have not filed a responsive pleading in Plaintiff’s state court

action, and no other proceedings have transpired in that action.

       12.     Pursuant to 28 U.S.C. § 1446(d), Defendants will promptly file a notice to the

state court of its removal of this action to federal court, along with a copy of this Notice, in the

Commonwealth of Massachusetts, District Court Department of the Trial Court, Lowell




                                                  3
           Case 1:19-cv-11519-DJC Document 1 Filed 07/11/19 Page 4 of 5



Division, County of Middlesex. Additionally, Defendants will serve a copy of the notice to the

state court and a copy of this Notice on Plaintiff’s counsel of record.

       13.     In accordance with Local Rule 81.1, Defendants will file with this Court attested

copies of all records, proceedings, and docket entries in the state court within twenty-eight (28)

days of the date of this Notice.

       14.     By removing this matter, Defendants do not waive, or intend to waive, any

defense, including, but not limited to, insufficiency of process and insufficiency of service of

process.

       WHEREFORE, Defendants respectfully request that the Court take jurisdiction of this

action and issue all necessary orders and process to remove said action from the Commonwealth

of Massachusetts, District Court Department of the Trial Court, Lowell Division, County of

Middlesex, to the United States District Court for the District of Massachusetts.


                                                 Respectfully submitted,

                                                  REMINGTON LODGING & HOSPITALITY,
                                                  LLC AND ASHFORD TRS BOSTON
                                                  BILLERICA, LLC,

                                                  By their attorneys,


                                                  /s/Katherine G. Rigby
                                                  Katherine G. Rigby (BBO #676436)
                                                  Alexandra E. Shaw (BBO #694534)
                                                  OGLETREE, DEAKINS, NASH, SMOAK &
                                                  STEWART, P.C.
                                                  One Boston Place, Suite 3500
                                                  Boston, MA 02108
                                                  Tel. 617-994-5700
                                                  Fax 617-994-5701
                                                  katherine.rigby@ogletree.com
                                                  alexandra.shaw@ogletree.com
  Dated: July 11, 2019



                                                 4
          Case 1:19-cv-11519-DJC Document 1 Filed 07/11/19 Page 5 of 5



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2019, a true and accurate copy of the foregoing document
was served on Plaintiff’s counsel of record by email and first class mail as follows:

                      Bradford N. Louison
                      LOUISON, COSTELLO, CONDON & PFAFF, LLP
                      101 Summer Street
                      Fourth Floor
                      Boston, MA 02110
                      blouison@lccplaw.com

                                                   /s/ Katherine G. Rigby
                                                   Katherine G. Rigby



                                                                                        39199190.1




                                               5
